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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS
                                   AT KANSAS CITY

SEAN P. BRADSHAW,                                    )
                                                     )
                        Plaintiff,                   )
                                                     )         Case No.:
       v.                                            )         Division No.:
                                                     )         Chapter No.:
STEEL AND PIPE SUPPLY CO.,                           )
                                                     )         REQUEST FOR JURY TRIAL
                        Defendant.                   )

Serve Resident Agent:
Cogency Global Inc.
2101 SW 21st Street
Topeka, KS 66604


                                         COMPLAINT

       COMES NOW Plaintiff, Sean P. Bradshaw, and for his cause of action against the

above-named Defendant, alleges and states as follows:

        1.      Plaintiff is, and at all times set forth below was, a resident of the State of

 Kansas.

        2.      Defendant is a corporation, organized under the laws of Kansas with its

 principal place of business in Manhattan, Kansas.

        3.      Defendant works in an industry affecting interstate commerce, in that

 Defendant warehouses, processes, and distributes carbon-steel products to customers

 throughout the United States utilizing interstate highways.

        4.      Defendant employed more than 15 employees in 2020 and does so

 currently.

        5.      Defendant is thus subject to the Americans with Disabilities Act, 42



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U.S.C. § 12101 et seq.

       6.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331,

as Count II of Plaintiff's Complaint arises under the laws of the United States,

specifically the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq.

       7.      This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367

over Count I of Plaintiff's Complaint, as that count is so related to the claims

encompassed within Count II as to form one case or controversy.

                           FACTS COMMON TO ALL COUNTS

       8.      Plaintiff began working for Defendant on or about July 31, 2017.

       9.      Plaintiff worked as a Maintenance Technician but occasionally did spot

work in Defendant’s production department.

       10.     On or about October 8, 2019, Plaintiff was filling in for the production

department and was instructed to process some metal tubing for distribution.

       11.     Plaintiff was required to manipulate pieces of metal tubing using his hands

and arms to lift and organize the material so the tubing could be banded together for

shipping.

       12.     While working in the course and scope of his employment, Plaintiff was

lifting and manipulating a piece of steel tubing when he felt a sharp, burning pain in his

right shoulder, arm, and elbow.

       13.     After experiencing the sharp pain, Plaintiff went to the bathroom to inspect

his shoulder, arm, and elbow in the mirror and felt a knot in his upper right arm.

       14.     Plaintiff, in accordance with Defendant’s injury reporting procedure,

reported the work-related injury to his supervisor, the Production Lead, Marshal Hoyt.



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          15.   Plaintiff then reported his work-related injury to the Plant Manager, Brian

Marvel.

          16.   Plaintiff then reported his work-related injury to Defendant’s Human

Resources representative, Ryan Sandberg.

          17.   Plaintiff was sent by Defendant to Urgent Care to receive authorized

treatment for his work-related injury.

          18.   Plaintiff was provided lifting restrictions of no more than 10 pounds by

Defendant’s authorized treatment provider.

          19.   Defendant’s authorized treatment provider prescribed physical therapy.

          20.   Pursuant to Kansas Workers’ Compensation law, the employer controls the

medical treatment of employees suffering from work-related injuries.

          21.   Plaintiff began physical therapy within the next couple of days and

continued physical therapy in accordance with the schedule he was provided by the

authorized treatment provider.

          22.   On or about October 28, 2019, Plaintiff was evaluated again by Defendant’s

authorized orthopedic treatment provider.

          23.   At that visit, Plaintiff was informed that he had possibly ruptured his biceps

tendon.

          24.   Having been informed by Defendant’s authorized treatment provider of the

lasting effects of an unrepaired biceps tendon, Plaintiff insisted on a referral to an

orthopedic specialist.

          25.   Defendant’s authorized treatment provider agreed to refer Plaintiff to an

orthopedic specialist.



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        26.     Plaintiff also received a corticosteroid shot which provided some relief of

Plaintiff’s pain.

        27.     The pain relief which resulted from the corticosteroid shot lasted

approximately three weeks from the date Plaintiff received treatment.

        28.     On or about November 19, 2019, Plaintiff was evaluated by an authorized

orthopedic specialist.

        29.     Defendant’s authorized orthopedic specialist diagnosed Plaintiff with a

ruptured biceps tendon.

        30.     The specialist informed Plaintiff that his ruptured biceps tendon had resulted

in a distal retraction of the biceps muscle belly.

        31.     Plaintiff was informed that, due to the passage of time since the injury,

surgical repair of the injury was no longer an option.

        32.     Plaintiff was informed that his continued treatment would be in the form of

physical therapy.

        33.     Plaintiff was provided a 15 pound lifting restriction for his right arm.

        34.     Plaintiff continued to work through his right arm pain, performing the

essential functions of his job.

        35.     Defendant continued to assign Plaintiff tasks which required use of his right

arm which exceeded Plaintiff’s restrictions.

        36.     Plaintiff completed all physical and occupational therapy prescribed by

Defendant’s authorized treatment provider.

        37.     On or about April 23, 2020, Plaintiff, in the course and scope of his

employment, was driving a forklift.



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          38.   While driving the forklift over a raised threshold, two steel items fell from

the collection of things Plaintiff was moving with the forklift.

          39.   Plaintiff stopped the vehicle, got out, and attempted to pick up the fallen

items.

          40.   Upon lifting one of the items with his right arm, Plaintiff felt an intense

burning pain in the same areas of his right upper extremity, the shoulder, arm, and elbow,

which he felt when he suffered the work-related injury on October 8, 2019.

          41.   Plaintiff believed this intense pain to be the result of an exacerbation of his

October 8, 2019 work-related injury.

          42.   Plaintiff completed the task he was doing and immediately reported the

injury to his supervisor, Tony Welle

          43.   Plaintiff reported the exacerbation of his work-related injury approximately

10 minutes after lifting the steel and feeling the pain.

          44.   Plaintiff finished his shift in pain, without incident, and went home.

          45.   The following day, on or about Friday, April 24, Plaintiff awoke with

intense pain in his right shoulder, arm, and elbow.

          46.   Plaintiff went to work for his schedule shift and worked until the daily

managers’ meeting typically concluded.

          47.   In an attempt to reiterate his report of injury, Plaintiff went to Marvel’s

office.

          48.   Marvel was not present in his office, and Plaintiff was unable to find Marvel

to reiterate his injury report from the previous day.

          49.   Upon information and belief, Marvel was not working that day.



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          50.   Plaintiff also tried several times to find Sandberg to reiterate his injury report

from the previous day.

          51.   Each time Plaintiff attempted to find Sandberg, Sandberg was not in his

office.

          52.   Plaintiff worked through the pain and finished his shift without incident.

          53.   Plaintiff was scheduled off for the weekend, April 25 and April 26, 2020,

and stayed home to rest his injured shoulder, arm, and elbow.

          54.   On or about April 27, 2020, Plaintiff returned to work for his next scheduled

shift.

          55.   Upon arriving, Plaintiff went to Sandberg’s office, encountered Sandberg,

and was finally able to reiterate his report of injury to Sandberg.

          56.   Plaintiff said to Sandberg, “I know we thought we were done with this

injury, but I don’t think it is better.”

          57.   Plaintiff described the increased pain in his right biceps and what Plaintiff

was doing when his work-related injury was exacerbated on or about April 23, 2020.

          58.   Plaintiff informed Sandberg that Plaintiff had reported his injury to his Lead,

Welle, shortly after it occurred, on or about April 23, 2020.

          59.   During this conversation with Sandberg, Plaintiff requested treatment for his

work-related injury.

          60.   Sandberg then told Plaintiff that Marvel would be the one to decide whether

Plaintiff would receive treatment.

          61.   Plaintiff did not receive any information regarding treatment for his work-

related injury on April 27, 2020.



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        62.    Plaintiff completed his shift in great pain without incident.

        63.    On or about April 28, 2020, Plaintiff returned to work at Defendant’s facility

for his scheduled shift.

        64.    Shortly after arriving for his shift, Plaintiff went to Sandberg’s office to

inquire about the status of Plaintiff’s treatment request.

        65.    Upon asking Sandberg about the status of Plaintiff’s request, Sandberg

replied that Marvel was “working on it.”

        66.    Sandberg continued by explaining that Marvel was trying to figure out what

Defendant was “going to do about it.”

        67.    Confused, Plaintiff said “okay” and returned to his job duties.

        68.    Shortly before lunch, Plaintiff encountered Sandberg at the counter by the

office area in Defendant’s facility.

        69.    Sandberg summoned Plaintiff to the counter.

        70.    Sandberg handed Plaintiff some paperwork and keys to a company vehicle.

        71.    Sandberg told Plaintiff that Plaintiff would be going to Urgent Care.

        72.    Believing he was going to Urgent Care to receive treatment, Plaintiff

thanked Sandberg and left for Urgent Care.

        73.    Upon arriving at Urgent Care, Plaintiff was told that he would not be

receiving treatment, but, instead, Plaintiff was there to submit to a drug screen by urine

analysis.

        74.    After submitting to the drug screen, Plaintiff was told that he needed to go to

a second location for further testing.

        75.    Plaintiff did as he was instructed and proceeded to the address he was


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provided.

          76.   Upon arriving, Plaintiff was informed that he was being required by

Defendant to submit to an additional, hair follicle drug test.

          77.   A lock of Plaintiff’s hair was taken, and he was instructed to return to

Defendant’s facility.

          78.   Neither drug test revealed the presence of any drug in Plaintiff’s system, as

there were none.

          79.   Upon returning to Defendant’s facility, Plaintiff provided all of the

paperwork he had received at the two facilities to Marvel and Sandberg who were standing

near each other at the counter area.

          80.   While handing the paperwork to Marvel and Sandberg, Plaintiff asked why

he was subjected to two drug tests but received no treatment for his work-related injury.

          81.   In response, Sandberg chuckled to Marvel uttering something along the lines

of “do you want to tell him or should I?”

          82.   Marvel replied to Sandberg dismissively, “I don’t care, go ahead and tell

him.”

          83.   The two then informed Plaintiff that Plaintiff was drug tested because

Plaintiff waited too long to report the April 23, 2020 exacerbation of his work-related

injury.

          84.   Upset, Plaintiff reiterated how he had followed company policy when he

immediately reported the injury to his supervisor Welle.

          85.   Plaintiff continued to explain that he had tried to find both Marvel and

Sandberg the following day to report the injury, but they were nowhere to be found.



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       86.        Marvel and Sandberg ignored Plaintiff’s explanation and told Plaintiff to

follow the two men to Marvel’s office.

       87.        Once in Marvel’s office, Plaintiff was told to sit down and was handed two

written disciplinary actions.

       88.        Plaintiff was given one written disciplinary action for being involved in two

workplace accidents in a 12-month period.

       89.        The “accidents” which the disciplinary action references are the incidences

during which Plaintiff suffered work-related injuries which occurred on or about October 8,

2019 and April 23, 2020.

       90.        The written disciplinary action represents that being involved in two

workplace “accidents” is a violation of Defendant’s policy MSP 4.12.

       91.        Plaintiff was also given a written disciplinary action for not reporting his

accident in a timely manner.

       92.        Plaintiff was given this write up despite reporting his original injury on the

day it happened.

       93.        Plaintiff was given this write up despite reporting the re-aggravation of his

work related injury on the day it happened.

       94.        Plaintiff was given a write up despite the work-related injury on October 8,

2019 not being an “accident,” as Plaintiff was just lifting piping when he was injured.

       95.        Plaintiff was given a write up despite the re-aggravation of his work-related

injury on April 23, 2020 not being an “accident,” as Plaintiff was just picking something up

from the floor.

       96.        Plaintiff returned to his job duties and finished his shift without having been



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provided any medical treatment.

          97.    On or about April 29, 2020, Plaintiff returned to work for his scheduled

shift.

          98.    Approximately two and a half hours into his shift, Plaintiff was summoned

to Marvel’s office.

          99.    Upon arriving at Marvel’s office, Plaintiff encountered Marvel and Sandberg

and was instructed to sit down.

          100.   Marvel then told Plaintiff that Plaintiff was a “safety hazard” to himself and

everyone around him.

          101.   Marvel then informed Plaintiff that Defendant had decided to discharge

Plaintiff, effective immediately.

          102.   Plaintiff eventually received treatment in September after hiring a workers’

compensation attorney.

          103.   Plaintiff’s underlying Kansas Workers’ Compensation case and authorized

treatment are currently ongoing.

          104.   All actions or inactions of or by Defendant occurred by or through its agents,

servants, or employees, acting within the course and scope of their employment, as set forth

herein.

          105.   On or about September 11, 2020, Plaintiff filed a Charge of Discrimination

with the Equal Employment Opportunity Commission ("EEOC"), alleging that Defendant

engaged in discriminatory actions that are being raised in this lawsuit, or alternatively, all

conduct alleged herein would have arisen from the investigation of such Charge of

Discrimination.



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       106.    On or about November 5, 2020, the EEOC issued Plaintiff a Notice of Right

to Sue and thereby closed the administrative matter associated with the Charge of

Discrimination.

       107.    Plaintiff has fulfilled all conditions precedent to the bringing of these claims

and has duly exhausted all administrative procedures prior to instituting this lawsuit in

accordance with the law.

           COUNT I - RETALIATION IN VIOLATION OF PUBLIC POLICY
                 (KANSAS WORKER'S COMPENSATION ACT)

       108.    Plaintiff incorporates by reference the allegations contained in Paragraphs 1

through 107 of his Complaint, as though fully stated herein.

       109.    Plaintiff exercised rights granted by the Kansas Worker's Compensation Act.

       110.    These rights included but are not limited to receiving medical treatment,

requesting additional treatment, reporting a work-related injury, and seeking other workers’

compensation benefits.

       111.    Defendant took adverse actions against Plaintiff, including but not limited to

misapplying its own policies to justify formal disciplinary actions against Plaintiff;

disciplining Plaintiff pursuant to those policies; refusing to treat Plaintiff’s injury; refusing

to accommodate Plaintiff’s injury; requiring Plaintiff to submit to two drug tests; and

discharging Plaintiff from employment.

       112.    Defendant directly admits that Plaintiff's work-related injury and request for

treatment motivated Defendant to discharge Plaintiff.

       113.    The alleged reporting policy used to accomplish Plaintiff’s discharge was

not accurately applied because Plaintiff reported the exacerbation of his work related injury




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the day of the incident, on or about April 23, 2020.

        114.     Further, Defendant’s policy MSP 4.12 (hereinafter “the Policy”), as

described in Plaintiff’s write up, is a per se violation of Kansas Public Policy in that it is

discriminatory against employees who exercise workers' compensation rights.

        115.     As evidenced by Plaintiff’s written disciplinary action, the Policy was

applicable to Plaintiff because Plaintiff suffered and reported two work-related injuries

within a 12-month period.

        116.     The Policy does not require any “accident,” as demonstrated by Plaintiff’s

two work-related injuries, neither of which were caused any “accident” but instead simply

caused by Plaintiff performing assigned tasks.

        117.     The Policy, as provided in Plaintiff’s written disciplinary action, effectively

limits employees to reporting and seeking Kansas workers’ compensation benefits for one

work-related injury per 12 months, in violation of Kansas public policy.

        118.     Defendant's adverse actions taken against Plaintiff were each based upon,

and directly related to, Plaintiff exercising his rights granted by the Kansas Worker's

Compensation Act.

        119.     Defendant's adverse actions against Plaintiff violate State public policy

clearly declared by the Kansas Courts and the Kansas Legislature.

        120.     As a direct and proximate result of Defendant's unlawful conduct, Plaintiff

has suffered irreparable injury, including past and future pecuniary losses, emotional pain,

suffering, humiliation, inconvenience, mental anguish, loss of enjoyment of life, reduced

employment opportunities, and will continue to suffer the same unless and until this Court

grants relief.



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         121.     Defendant acted toward Plaintiff with willful conduct, wanton conduct,

 and/or malice.

         122.     Thus, an award of punitive and exemplary damages is appropriate.

    WHEREFORE, Plaintiff prays for judgment against the above-named Defendant in an

amount in excess of $75,000, for the costs of this action, and for such other and further

consideration and relief as the Court may deem just and equitable.

         COUNT II - DISABILITY DISCRIMINATION IN VIOLATION OF THE
          AMERICANS WITH DISABILITIES ACT, 42 U.S.C. § 12101 et. seq.

         123.     Plaintiff incorporates by reference the allegations contained in Paragraphs 1

 through 122 of his Complaint, as though fully stated herein.

         124.     Plaintiff suffered from physical impairments that substantially limited one or

 more of his major life activities, including but not limited to his ability to work and lift.

         125.     Defendant regarded Plaintiff as suffering from a physical impairment and

 regarded it as limiting Plaintiff from life activities, including the ability to maintain

 employment, and for limiting Plaintiff from such activities for much longer than they

 actually did.

         126.     In reality, Plaintiff was always able to perform the essential job functions of

 his former position with reasonable accommodations.

         127.     Thus, Plaintiff suffered from a "disability" as defined by 42 U.S.C. §

 12102(1).

         128.     Defendant took adverse employment actions against Plaintiff, including but

 not limited to refusing to accommodate Plaintiff’s disability; misapplying its own policies

 to justify disciplinary actions against Plaintiff; disciplining Plaintiff; continuing to assign




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Plaintiff tasks which were contraindicated by Defendant’s authorized treatment providers’

restrictions; and discharging Plaintiff from employment.

        129.     A/the motivating in these adverse employment actions was Plaintiff’s

disability.

        130.     As a direct and proximate result of Defendant's unlawful conduct, Plaintiff

has suffered irreparable injury, including past and future pecuniary losses, emotional pain,

suffering, humiliation, inconvenience, mental anguish, loss of enjoyment of life, reduced

employment opportunities, and will continue to suffer the same unless and until this Court

grants relief.

        131.     Defendant acted toward Plaintiff with willful conduct, wanton conduct,

and/or malice.

        132.     Thus, an award of punitive and exemplary damages is appropriate.

        133.     Plaintiff is also entitled to recover all of his costs, expenses, expert witness

fees, and attorneys’ fees incurred in this matter.

        WHEREFORE, Plaintiff prays for judgment against the above-named Defendant in

an amount in excess of $75,000, for the costs of this action, for attorneys' fees, for punitive

damages, and for such other and further consideration and relief as the Court may deem just

and equitable.




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                              Respectfully submitted,


                                /s/ Daniel L. Doyle
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